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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

 Cheryl Sagataw, DeAnthony Barnes, Roberta                        Case No. 24-cv-0001 (ECT/TNL)
 Strong, Travis Neloms, Alvin Butcher,
 Adrian Tiger, Chance Askenette, Deven
 Caston, Lola Hegstrom, and RonDel                             NOTICE OF DEPOSITION OF
 Applebee, on behalf of themselves and all                         LT. JOHN HAUGLAND
 others similarly situated,
                                     Plaintiffs,
         vs.

 Mayor Jacob Frey, in his individual
 and official capacity,
                                     Defendant.

       Please take notice that Plaintiffs Cheryl Sagataw, DeAnthony Barnes, Roberta Strong,

Travis Neloms, Alvin Butcher, Adrian Tiger, Chance Askenette, Deven Caston, Lola Hegstrom,

and RonDel Applebee, on behalf of themselves and the putative class of those similarly situated,

(“Plaintiffs”) will take the deposition of Lieutenant John Haugland of 350 Fifth St. S., Room 130

Minneapolis, MN 55415. The deposition will be taken via remote videoconferencing

technology, as agreed by the parties. The deposition will be taken before a certified court reporter

authorized to administer oaths, and the parties agree that the court reporter may swear in the

deponent remotely. Plaintiffs’ counsel’s office will circulate access instructions and/or dial-in

instructions in advance of the deposition. Plaintiffs are available any day in the next month that is

convenient to Lieutenant Haugland except for December 12, 2024.

       If remote videoconferencing technology becomes unavailable for more than thirty

consecutive minutes during the deposition, then, at the option of Plaintiff’s counsel, Plaintiff may

either proceed telephonically (or by remote videoconference with Plaintiff’s counsel’s video




                                                                                             Exhibit S
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turned off) or may adjourn the deposition and reconvene the deposition to continue in-person or

by remote videoconference on a mutually convenient date.

       Plaintiff intends to record the testimony by videoconference technology, in addition to

recording the testimony by stenographic methods.




Dated: December 2, 2024                             s/Kira Kelley
                                                    Kira Kelley (#402932)
                                                    Climate Defense Project
                                                    P.O. Box 7040
                                                    Minneapolis, MN 55407
                                                    Phone: (802) 683-4086
                                                    Email: kira@climatedefenseproject.org

                                                    ATTORNEY FOR PLAINTIFFS




                                                                                          Exhibit S
